         Case 1:18-cv-00152-JEB Document 124 Filed 03/06/19 Page 1 of 3



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



RONNIE MAURICE STEWART, et al.,

               Plaintiffs,
                                                   Civil Action No. 1:18-cv-152 (JEB)
   v.


ALEX M. AZAR II, et al.,

               Defendants.


     NOTICE OF SUBMISSION OF SUPPLEMENTAL EXCERPTS OF THE
 ADMINISTRATIVE RECORD RELIED UPON BY THE FEDERAL DEFENDANTS

        The federal defendants hereby file copies of supplemental excerpts of the administrative

record. The federal defendants relied on these additional excerpts in their reply memorandum in

support of their motion to dismiss, or in the alternative, for summary judgment. See ECF No. 122.



        Dated: March 5, 2019                     Respectfully submitted,

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                                                 Assistant Attorney General

                                                 JAMES M. BURNHAM
                                                 Deputy Assistant Attorney General

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                                                 /s/ Vinita Andrapalliyal                   -
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Case 1:18-cv-00152-JEB Document 124 Filed 03/06/19 Page 2 of 3



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       Case 1:18-cv-00152-JEB Document 124 Filed 03/06/19 Page 3 of 3



 Table of Federal Defendants’ Supplemental Excerpts from the Administrative Record
              Stewart, et al., v. Azar, et al., Civ. No. 18-152-JEB (D.D.C.)

                                                              Pages
                                                                            Page where
                                                            (Original
                                                                            cited in the
Excerpt                                                    Numbering
                      Name of Document                                        Federal
Number                                                        from
                                                                            Defendants’
                                                          Administrative
                                                                           Memorandum
                                                             Record)

           Letter from CMS to Cabinet for Health and
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                 Kentucky Health demonstration

            Heather Hahn et al., The Urban Inst., Work
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  28      Status Report of Work Requirements in TANF,       4705–4756           15
             SNAP, Housing Assistance, and Medicaid
                             (2017)

          Peggy A. Thoits & Lyndi N. Hewitt, Vanderbilt
  29      University, Volunteer Work and Well-Being, 42     5392–5409           15
              J. of Health & Soc. Behav. 115 (2001)
